           Case 2:04-cr-00337-WBS Document 48 Filed 04/27/05 Page 1 of 3


 1   QUIN DENVIR, Bar #49374
     Federal Defender
 2   MARK J. REICHEL, Bar #155034
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700

 5   Attorney for Defendant
     LIANNA SUGGETT
 6
 7
                        IN THE UNITED STATES DISTRICT COURT
 8
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
     UNITED STATES OF AMERICA,       )     NO. CR.S-04-337 WBS
11                                   )
                     Plaintiff,      )
12                                   )     STIPULATION TO CONTINUE DATE FOR
          v.                         )     CHANGE OF PLEA; REQUEST OF COURT
13                                   )     FOR FINDING OF EXCLUDABLE TIME
     LIANNA SUGGETT,                 )
14                                   )     Date:       May 4, 2005
                     Defendant.      )     Time:       9:00 a.m.
15   _______________________________ )     Judge:      Hon. William B. Shubb

16
          IT IS HEREBY STIPULATED by and between the parties hereto through
17
     their respective counsel, KENNETH J. MELIKIAN, Assistant United States
18
     Attorney, attorney for Plaintiff, MARK J. REICHEL, Assistant Federal
19
     Defender, attorney for Defendant, request that the change of plea
20
     hearing be re set from April 27, 2005 at 9:00 a.m. to May 4, 2005 at
21
     9:00 a.m.
22
          Ms. Suggett gave birth last Friday, April 22nd.         As such, the
23
     parties request that her court date be continued a period of 1 week so
24
     she can recover sufficient to attend court.
25
26
27
28
              Case 2:04-cr-00337-WBS Document 48 Filed 04/27/05 Page 2 of 3


 1        Accordingly, all counsel and the defendant agree that time under
 2   the Speedy Trial Act from the date this stipulation is lodged, through
 3   May 4, 2005, should be excluded in computing the time within which
 4   trial must commence under the Speedy Trial Act, pursuant to Title 18
 5   U.S.C. § 3161 (H)(4)and Local Code N.
 6   DATED:    April 27, 2005.                 Respectfully submitted,
 7                                             QUIN DENVIR
                                               Federal Public Defender
 8
 9   DATED:    April 27, 2005.                 /s/ MARK J. REICHEL
                                               MARK J. REICHEL
10                                             Assistant Federal Defender
                                               Attorney for Defendant
11
12                                             McGREGOR SCOTT
                                               United States Attorney
13
14
     DATED:    April 27, 2005.                 /s/ MARK J. REICHEL for
15                                             KENNETH J. MELIKIAN
                                               Assistant U.S. Attorney
16                                             Attorney for Plaintiff
17
18
19
20
21                                        O R D E R
22        IT IS SO ORDERED.       Time is excluded in the interests of justice
23   pursuant to 18 U.S.C. § 3161 (H)(4)and Local Code N.
24
25   DATED: April 27, 2005
26
27
28


                                               2
     Case 2:04-cr-00337-WBS Document 48 Filed 04/27/05 Page 3 of 3


 1

 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                      3
